Case 8:21-cv-00555-SDM-CPT Document 91 Filed 04/18/22 Page 1 of 5 PageID 678




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

DALANEA TAYLOR; TAMMY
HEILMAN; DARLENE DEEGAN;
and ROBERT A. JONES III,

            Plaintiffs,
v.                                      CASE NO.: 8:21-cv-00555-SDM-CPT
CHRIS NOCCO, in his official
capacity as Pasco County Sheriff,

            Defendant,
                                       /



                          JOINT STATUS REPORT
Case 8:21-cv-00555-SDM-CPT Document 91 Filed 04/18/22 Page 2 of 5 PageID 679




      Plaintiffs and Defendant, by and through undersigned counsel and pursuant to

the Court’s Order of May 27, 2021 (Dkt. 29), hereby provide the Court with a status

report concerning the progress of discovery.

      Today is the last day of discovery, and, with a few exceptions noted below, the

parties at this time have wrapped up discovery. The parties have taken numerous

depositions, including of the Plaintiffs, of various employees of Defendant, and of both

sides’ expert witnesses. The parties have also engaged in voluminous document

discovery. By the agreement of the parties, some further discovery remains to be

completed with respect to the following matters:

    Defendant has not yet provided responses to Plaintiffs’ Seventh Set of Requests

      for Production of Documents. Plaintiffs have agreed to provide Defendant with

      until April 22 to produce documents in response to that request.

    As set out in the stipulation filed on April 15, the Defendant also has not yet

      provided responses to Plaintiffs’ Second Set of Requests for Admission.

      Plaintiffs have agreed to provide Defendant until May 9, 2022 to provide

      responses to those requests (excepting the requests pertaining to body-worn

      camera footage, which the parties agree do not require a response).

    Plaintiff will be serving rebuttal expert reports on Defendant today. Should those

      rebuttal reports raise issues that Defendant wishes to explore, Plaintiff has

      agreed to allow Defendant to take out-of-time depositions of Plaintiffs’ experts.
Case 8:21-cv-00555-SDM-CPT Document 91 Filed 04/18/22 Page 3 of 5 PageID 680




    Defendant has not yet taken the deposition of Plaintiff Dalanea Taylor, as that

      deposition has been delayed due to medical concerns. The parties have agreed

      that this deposition may go forward after the close of discovery, as medical

      considerations allow.

    Defendant has a pending motion seeking a court order to require the production

      of court records pursuant to third-party subpoenas. Defendant has agreed to

      provide Plaintiffs with copies of all documents that are produced pursuant to

      these third-party subpoenas.

    Defendant is finalizing his review of potentially relevant emails in this case.

      Defendant does not expect for this review to result in any additional production,

      but, if the review does uncover responsive documents they will be produced.

      Defendant expects to produce any final documents on or about May 9, 2022.

      Other than those limited matters, discovery in this case has now concluded and

the parties will now shift their focus to prepare the case for summary judgment. Some

documents in this case have been produced pursuant to a confidentiality agreement,

and Plaintiff may be identifying documents to Defendant that require redaction prior

to their introduction into the summary judgment record. The parties will also continue

to discuss whether there are any facts that can be agreed to by stipulation.
Case 8:21-cv-00555-SDM-CPT Document 91 Filed 04/18/22 Page 4 of 5 PageID 681




April 18, 2022.                      Respectfully submitted,

/s/ Thomas W. Poulton                /s/ Ari S. Bargil
THOMAS W. POULTON, ESQ.              Ari S. Bargil (FL Bar No. 71454)
Florida Bar No.: 0083798             INSTITUTE FOR JUSTICE
poulton@debevoisepoulton.com         2 S. Biscayne Boulevard, Suite 3180
                                     Miami, FL 33131
JEFFREY K. GRANT, ESQ.               Tel: (305) 721-1600
Florida Bar No.: 0091197             Fax: (305) 721-1601
grant@debevoisepoulton.com           abargil@ij.org

DeBEVOISE & POULTON, P.A.            Joshua A. House (CA Bar No.
1035 S. Semoran Blvd., Suite 1010    284856)*
Winter Park, Florida 32792           Caroline Grace Brothers (DC Bar No.
Telephone: 407-673-5000              1656094)*
Facsimile: 321 -203-4304             INSTITUTE FOR JUSTICE
Attorneys for Defendant              901 N. Glebe Road, Suite 900
                                     Arlington, VA 22203
                                     Tel.: (703) 682-9320
                                     Fax: (703) 682-9321
                                     jhouse@ij.org
                                     cgbrothers@ij.org

                                     Robert E. Johnson (OH Bar No.
                                     0098498)*
                                     INSTITUTE FOR JUSTICE
                                     16781 Chagrin Boulevard, Suite 256
                                     Shaker Heights, OH 44120
                                     Tel.: (703) 682-9320
                                     Fax: (703) 682-9321
                                     rjohnson@ij.org

                                     *Admitted Pro Hac Vice

                                     Counsel for Plaintiffs
Case 8:21-cv-00555-SDM-CPT Document 91 Filed 04/18/22 Page 5 of 5 PageID 682




                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 18th day of April, 2022, a true and correct

copy of the foregoing document was served via the Court’s CM/ECF system upon all

counsel of record.

                                     /s/ Ari S. Bargil
